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                   UNITED STATES DISTRICT COURT
              FOR THE WESTERN DISTRICT OF TENNESSEE
                        WESTERN DIVISION


JEREMY GREY,                            *
an individual,                          *
                                        *
       PLAINTIFF,                       *
                                        *
v.                                      * Case No. 2:22-cv-02386
                                        *
COPPERWOOD SQUARE LLC,                  *
a limited liability company,            *
                                        *
           DEFENDANT.                   *


                                  COMPLAINT

       Plaintiff JEREMY GREY (“Grey” or “Plaintiff”) hereby sues Defendant,

COPPERWOOD SQUARE LLC, limited liability company, (hereinafter

“Defendant”) pursuant to the Americans with Disabilities Act, 42 U.S.C. § 12181 et

seq. (“ADA”), and its implementing regulations, the ADA’s Accessibility

Guidelines, 28 C.F.R. Part 36 (“ADAAG”) and alleges as follows:

                        JURISDICTION AND PARTIES

      1.     This is an action for declaratory and injunctive relief pursuant to Title

III of the ADA. This Court is vested with original jurisdiction over the action

pursuant to 28 U.S.C. §§ 1331 and 1343 for Plaintiff’s claims pursuant to 42 U.S.C.




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§ 12181 et seq., based upon Defendant’s, COPPERWOOD SQUARE LLC’s, failure

to remove physical barriers to access and violations of Title III of the ADA.

       2.    Venue is properly located in the WESTERN DISTRICT OF

TENNESSEE IN THE WESTERN DIVISION pursuant to 28 U.S.C. § 1391(b)

because venue lies in the judicial district of the property situs or the judicial district

in which a substantial part of the events or omissions giving rise to Plaintiff’s claims

occurred. The Defendant’s property is located in and does business within this

judicial district and all events giving rise to this lawsuit occurred in this judicial

district.

       3.    Plaintiff, JEREMY GREY, is and has been at all times relevant to the

instant matter, a natural person residing in Tennessee and is sui juris.

       4.    Plaintiff is an individual with disabilities as defined by the ADA.

       5.    Plaintiff is substantially limited in performing one or more major life

activities, including but not limited to: walking and standing.

       6.    Plaintiff uses a wheelchair for mobility purposes.

       7.    Plaintiff is also an independent advocate of the rights of similarly

situated disabled persons and is a “tester” for the purpose of enforcing Plaintiff’s

civil rights, monitoring, determining and ensuring whether places of public

accommodation are in compliance with the ADA. Plaintiff’s motivation to return to

a location, in part, stems from a desire to utilize ADA litigation to make his home

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community more accessible for Plaintiff and others; and pledges to do whatever is

necessary to create the requisite standing to confer jurisdiction upon this Court so an

injunction can be issued correcting the numerous ADA violations on the Subject

Property, including returning to the Subject Property as soon as it is accessible

(“Advocacy Purposes”).

       8.    Defendant, COPPERWOOD SQUARE LLC, is a limited liability

company conducting business in the State of Tennessee and within this judicial

district.

                           FACTUAL ALLEGATIONS

       9.    On or about February of 2022, Plaintiff attempted to but was deterred

from patronizing and/or gaining equal access as a disabled patron to the Village on

the Pike located at 2938 Covington Pike, Memphis, TN 38128 (“Subject Facility”,

“Subject Property”).

       10.   COPPERWOOD SQUARE LLC is the owner, lessor, and/or

operator/lessee of the real property and improvements that are the subject of this

action, specifically the Village on the Pike and its attendant facilities, including

vehicular parking and common exterior paths of travel within the site identified by

the Shelby County Assessor parcel identification number 08801200141C (“Subject

Facility”, “Subject Property”).




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      11.    Plaintiff lives within thirty (30) miles of the Subject Property. Because

the Subject Property is located on Covington Pike, a Shelby County thoroughfare

that he frequents routinely, he is routinely where the Subject Property is located and

travels in and about the immediate area of the Subject Property numerous times

every month, if not every week.

      12.     Plaintiff’s access to the Subject Property and/or full and equal

enjoyment of the goods, services, facilities, privileges, advantages and/or

accommodations offered therein were denied and/or limited because of his

disabilities, and he will be denied and/or limited in the future unless and until

Defendant, COPPERWOOD SQUARE LLC, is compelled to remove the physical

barriers to access and correct the ADA violations that exist at the Subject Property,

including those set forth in this Complaint.

      13.    Plaintiff has visited, i.e. attempted to patronize, the Subject Property on

multiple prior occasions, and at least once before as a patron and advocate for the

disabled. Plaintiff intends on revisiting the Subject Property within six months of the

filing of this Complaint or as soon as the barriers to access detailed in this Complaint

are removed. The purpose of the revisit is to be a regular patron, to determine if and

when the Subject Property is made accessible, and to maintain standing for this

lawsuit for Advocacy Purposes.




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      14.    Plaintiff intends on revisiting the Subject Property to enjoy the same

experiences, goods, and services available to Defendant’s non-disabled patrons as

well as for Advocacy Purposes, but does not intend to continue to repeatedly re-

expose himself to the ongoing barriers to equal access and engage in the futile

gesture of attempting to patronize the Subject Property, a business of public

accommodation known to Plaintiff to have numerous and continuing barriers to

equal access for wheelchair users.

      15.    Plaintiff recently traveled to the Subject Property as a patron and as an

independent advocate for the disabled, encountered and/or observed the barriers to

access that are detailed in this Complaint, engaged those barriers where physically

possible, suffered legal harm and legal injury, and will continue to suffer such harm

and injury as a result of the illegal barriers to equal access present at the Subject

Property.

               COUNT I – CLAIM FOR INJUNCTIVE RELIEF
                  (Against Defendant for ADA Violations)

      16.    The effective date of Title III of the ADA was January 26, 1992 (or

January 26, 1993 if a defendant has 10 or fewer employees and gross receipts of

$500,000 or less). 42 U.S.C. § 12181; 28 C.F.R. § 36.508(a).

      17.    The Subject Property is a public accommodation and service

establishment.



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     18.    Pursuant to the mandates of 42 U.S.C. § 12134(a), on July 26, 1991, the

Department of Justice and Office of Attorney General promulgated federal

regulations to implement the requirements of the ADA. 28 C.F.R. Part 36.

     19.    Public accommodations were required to conform to these regulations

by January 26, 1992 (or by January 26, 1993 if a defendant has 10 or fewer

employees and gross receipts of $500,000 or less). 42 U.S.C. § 12181 et seq.; 28

C.F.R. § 36.508(a).

     20.    The Subject Property must be, but is not, in compliance with the ADA

and the ADAAG.

     21.    Plaintiff has attempted to, and has to the extent possible, accessed the

Subject Property in his capacity as a patron at the Subject Property and as an

independent advocate for the disabled, but could not fully do so because of his

disabilities resulting from the physical barriers to access, dangerous conditions and

ADA violations that exist at the Subject Property that preclude and/or limit his

access to the Subject Property and/or the goods, services, facilities, privileges,

advantages and/or accommodations offered therein, including those barriers,

conditions and ADA violations more specifically set forth in this Complaint.

     22.    Plaintiff intends to visit the Subject Property again in the very near

future as a patron and as an independent advocate for the disabled, in order to utilize

all of the goods, services, facilities, privileges, advantages and/or accommodations

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commonly offered to able-bodied patrons of the Subject Property but will be unable

to fully do so because of his disability and the physical barriers to access, dangerous

conditions and ADA violations that exist at the Subject Property that preclude

and/or limit his access to the Subject Property and/or the goods, services, facilities,

privileges, advantages and/or accommodations offered therein, including those

barriers, conditions and ADA violations more specifically set forth in this

Complaint.

      23.       Defendant, COPPERWOOD SQUARE LLC, has discriminated against

Plaintiff (and others with disabilities) by denying his access to, and full and equal

enjoyment of the goods, services, facilities, privileges, advantages and/or

accommodations of the Subject Property, as prohibited by, and by failing to remove

architectural barriers as required by, 42 U.S.C. § 12182(b)(2)(A)(iv).

      24.       Defendant, COPPERWOOD SQUARE LLC, will continue to

discriminate against Plaintiff and others with disabilities unless and until

COPPERWOOD SQUARE LLC, is compelled to remove all physical barriers that

exist at the Subject Property, including those specifically set forth herein, and make

the Subject Property accessible to and usable by Plaintiff and other persons with

disabilities.

      25.       A specific list of unlawful physical barriers, dangerous conditions and

ADA violations which Plaintiff experienced and/or observed that precluded and/or

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limited Plaintiff’s access to the Subject Property and the full and equal enjoyment

of the goods, services, facilities, privileges, advantages and accommodations of the

Subject Property include, but are not limited to:


                       ACCESSIBLE ROUTES/PARKING
                                (Exterior)


            a. There is no van accessible parking identified as such
               with upright “Van Accessible” signage in violation of
               Section 4.6 of the 1991 ADAAG and Sections 208, 302
               and 502 of the 2010 ADAAG. These violations made
               it dangerous for Plaintiff to utilize the parking facility
               at the Subject Property and caused Plaintiff loss of
               opportunity.

            b. The visible upright signage (displaying the
               International Symbol of Accessibility) designating
               parking spaces as accessible is mounted too low in
               front of Care More Health. This is in violation of
               Section 4.6 of the 1991 ADAAG and Section 502 of
               the 2010 ADAAG. These violations made it dangerous
               for Plaintiff to utilize the parking facility at the Subject
               Property and caused Plaintiff loss of opportunity.

            c. The paint delineating the accessible parking spaces and
               access aisles is not being maintained so that it clearly
               marks the accessible parking location in violation of 28
               CFR § 36.211, Section 4.6 of the 1991 ADAAG, and
               Section 502.3.3 of the 2010 ADAAG. These violations
               made it dangerous for Plaintiff to utilize the parking
               facility at the Subject Property and caused Plaintiff loss
               of opportunity.



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          d. The purported accessible parking spaces are not level
             in all directions and have areas of uneven, broken and
             cracked pavement because of Defendant’s history and
             practice of failing to inspect and maintain the parking
             surface in violation of 28 CFR § 36.211, Sections 4.5.1
             and 4.6.3 of the 1991 ADAAG and Sections 302 and
             502.4 of the 2010 ADAAG. These violations made it
             dangerous for Plaintiff to utilize the parking facility at
             the Subject Property and caused Plaintiff loss of
             opportunity.

          e. The purported accessible parking aisles are not level in
             all directions and have areas of uneven, broken and
             cracked pavement because of Defendant’s history and
             practice of failing to inspect and maintain the parking
             surface in violation of 28 CFR § 36.211, Sections 4.5.1
             and 4.6.3 of the 1991 ADAAG and Sections 302 and
             502.4 of the 2010 ADAAG. These violations made it
             dangerous for Plaintiff to utilize the parking facility at
             the Subject Property and caused Plaintiff loss of
             opportunity.

          f. The Plaintiff could not safely utilize the parking facility
             because none of the designated accessible parking
             spaces within the parking facility are level and have a
             downward slope in violation of 28 CFR § 36.211,
             Sections 4.5.1 and 4.6.3 of the 1991 ADAAG and
             Sections 302 and 502.4 of the 2010 ADAAG. These
             violations made it dangerous for Plaintiff to utilize the
             parking facility at the Subject Property and caused
             Plaintiff loss of opportunity.

          g. The Plaintiff could not safely utilize the parking facility
             because none of the designated accessible aisles within
             the parking facility are level and have a downward
             slope in violation of 28 CFR § 36.211, Sections 4.5.1
             and 4.6.3 of the 1991 ADAAG and Sections 302 and
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              502.4 of the 2010 ADAAG. These violations made it
              dangerous for Plaintiff to utilize the parking facility at
              the Subject Property and caused Plaintiff loss of
              opportunity.

           h. The designated accessible parking space that is on the
              south side of DaVita Dialysis is not located on the
              shortest accessible route from parking to the accessible
              entrance in violation of Section 4.6 of the 1991
              ADAAG and Sections 208.3.1 and 502 of the 2010
              ADAAG. These violations made it dangerous for
              Plaintiff to utilize the parking facility at the Subject
              Property and caused Plaintiff loss of opportunity.

           i. The designated accessible parking spaces across from
              Adecco are not located on the shortest accessible route
              from parking to the accessible entrance in violation of
              Section 4.6 of the 1991 ADAAG and Sections 208.3.1
              and 502 of the 2010 ADAAG. These violations made
              it dangerous for Plaintiff to utilize the parking facility
              at the Subject Property and caused Plaintiff loss of
              opportunity.

           j. There is no accessible route provided within the site
              from the public sidewalk which serves the facility.
              There is no accessible route connecting the public
              sidewalk serving the subject facility and any accessible
              entrance(s) in violation of Section 4.3.2 of the 1991
              ADAAG and Section 206.2.1 of the 2010 ADAAG.
              These violations made it dangerous for Plaintiff to
              utilize the parking facility at the Subject Property and
              caused Plaintiff loss of opportunity.

                                       RAMP

           k. The access aisle adjacent to the designated accessible
              spaces has a curb ramp projecting into it and/or has
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              surfaces which are otherwise not level in all directions
              in violation of 28 CFR § 36.211, Section 4.6.3 of the
              1991 ADAAG and Section 502.4 of the 2010 ADAAG.
              These violations made it dangerous for Plaintiff to
              utilize the parking facility at the Subject Property and
              caused Plaintiff loss of opportunity.

           l. The curb ramp at the storefront curb serving the tenant
              space entrances at the Subject Property has runs with
              abrupt changes in level at the bottom transitions from
              the parking surface to the ramps in violation of Section
              4.3.8 of the 1991 ADAAG and Sections 303.3 and
              303.4 of the 2010 ADAAG. These violations made it
              dangerous for Plaintiff to utilize the parking facility at
              the Subject Property and caused Plaintiff loss of
              opportunity.

                                     INTERIOR

           m. The sales counter in Metro PCS is too high for
              wheelchair users. The sales counter exceeds the
              maximum allowable height of 36 inches from the finish
              floor in violation of Section 7.2 of the 1991 ADAAG
              and Sections 227.3 and 904.4 of the 2010 ADAAG.
              These violations made it dangerous for Plaintiff to
              utilize the parking facility at the Subject Property and
              caused Plaintiff loss of opportunity.

           n. The sales counter in Gentle Animal Care Hospital is
              too high for wheelchair users. The sales counter
              exceeds the maximum allowable height of 36 inches
              from the finish floor in violation of Section 7.2 of the
              1991 ADAAG and Sections 227.3 and 904.4 of the
              2010 ADAAG. These violations made it dangerous for
              Plaintiff to utilize the parking facility at the Subject
              Property and caused Plaintiff loss of opportunity.


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                          MAINTENANCE PRACTICES

           o. Defendant has a practice of failing to maintain the
              accessible features of the facility, creating barriers to
              access for the Plaintiff, as set forth herein, in violation
              of 28 CFR § 36.211. This practice prevented access to
              the Plaintiff equal to that of Defendant’s able-bodied
              customers causing Plaintiff loss of opportunity.

           p. Defendant has a practice of failing to maintain the
              accessible elements at the Subject Facility by
              neglecting its continuing duty to review, inspect, and
              discover transient accessible elements which by the
              nature of their design or placement, frequency of usage,
              exposure to weather and/or other factors, are prone to
              shift from compliant to noncompliant so that said
              elements may be discovered and remediated.
              Defendant failed and continues to fail to alter its
              inadequate maintenance practices to prevent future
              recurrence of noncompliance with dynamic accessible
              elements at the Subject Facility in violation of 28 CFR
              § 36.211, the 1991 ADAAG, and the 2010 ADAAG.
              These violations, as set forth hereinabove, made it
              impossible for Plaintiff to experience the same access
              to the goods, services, facilities, privileges, advantages,
              and accommodations of the Subject Facility as
              Defendant’s able-bodied patrons and caused Plaintiff
              loss of opportunity.

           q. Defendant has failed to modify its discriminatory
              maintenance practices to ensure that, pursuant to its
              continuing duty under the ADA, the Subject Property
              remains readily accessible to and usable by disabled
              individuals, including Plaintiff, as set forth herein, in
              violation of 28 CFR § 36.302 and 36.211. This failure
              by Defendant prevented access to the Plaintiff equal to

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                that of Defendant’s able-bodied customers causing
                Plaintiff loss of opportunity.

      26.    The discriminatory violations described above are not an exhaustive list

of the Defendant’s current barriers to equal access and violations of the ADA

because Plaintiff was unable to access and assess all areas of the subject premises

due to the architectural barriers encountered. A complete list of the Subject

Location’s ADA violations affecting the Plaintiff as a wheelchair user, and the

remedial measures necessary to remove same, will require an on-site inspection by

Plaintiff’s representatives pursuant to Federal Rule of Civil Procedure 34. Once the

Plaintiff personally encounters discrimination, as alleged above, or learns of

discriminatory violations through expert findings of personal observation, he has

actual notice that the defendant does not intend to comply with the ADA.

      27.    The Defendant has a practice of failing to maintain the accessible

elements at the Subject Property by neglecting its continuing duty to review, inspect,

and discover transient accessible elements which by the nature of its design or

placement, frequency of usage, exposure to weather and/or other factors, are prone

to shift from compliant to noncompliant, so that said elements are discovered and

remediated. Defendant failed and continues to fail to alter its inadequate

maintenance practices to prevent future recurrence of noncompliance with dynamic

accessible elements at the Subject Property in violation of 28 CFR §§ 36.202 and


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36.211. These violations, as referenced hereinabove, made it impossible for Plaintiff,

as a wheelchair user, to experience the same access to the goods, services, facilities,

privileges, advantages, and accommodations of the Subject Property as Defendant’s

able-bodied patrons.

      28.    Accessible elements at the Subject Property have been altered and/or

constructed since 2010.

      29.    The foregoing violations are violations of the 1991 ADAAG, and the

2010 ADAAG, as adopted by the U.S. Department of Justice. In instances where the

2010 ADAAG standards do not apply, the 1991 ADAAG standards apply, and all of

the alleged violations set forth herein can be modified to comply with the 1991

ADAAG standards.

      30.    The removal of the physical barriers, dangerous conditions and ADA

violations alleged herein is readily achievable and can be accomplished and carried

out without significant difficulty or expense. 42 U.S.C. § 12182(b)(2)(A)(iv); 42

U.S.C. § 12181(9); 28 C.F.R. § 36.304.

      31.    Each of the violations alleged herein is readily achievable to modify to

bring the Subject Property into compliance with the ADA.

      32.    Removal of the physical barriers and dangerous conditions present at

the Subject Property is readily achievable because of the site conditions at the




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Subject Property, the structural design of the subject facility, and the straightforward

nature of the necessary modifications.

      33.    To assist businesses in offsetting the costs associated with complying

with the ADA and removing barriers to access for individuals with disabilities,

Section 44 of the IRS Code provides a tax credit for small business owners, and

Section 190 of the IRS Code provides a tax deduction for all business owners,

including the Defendant.

      34.    Removal of the physical barriers and dangerous conditions at the

Subject Property is readily achievable because of the relative low cost of the

necessary modifications and the Defendant has the financial resources to make the

modifications, including the financial assistance made available to Defendant by the

government pursuant to Section 44 and/or Section 190 of the IRS Code.

      35.    By continuing to maintain and/or operate the Subject Property with

discriminatory conditions in violation of the ADA, Defendant contributes to

Plaintiff’s sense of isolation and segregation and deprives Plaintiff of the full and

equal enjoyment of the goods, services, facilities, privileges, and accommodations

available to able bodied individuals of the general public.

      36.    Defendant is required to remove the existing architectural barriers to

the physically disabled when such removal is readily achievable for its places of

public accommodation that have existed prior to January 26, 1992, 28 CFR

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36.304(a); additionally, if there has been an alteration to Defendant’s place of public

accommodation since January 26, 1992, then Defendant is required to ensure to the

maximum extent feasible, that the altered portions of the facility are readily

accessible to and usable by individuals with disabilities, including people who use

wheelchairs, 28 CFR 36.402; and finally, if the Defendant’s facilities were designed

and constructed for first occupancy subsequent to January 26, 1993, as defined in 28

CFR 36.401, then the Defendant’s facilities must be readily accessible to and useable

by individuals with disabilities as defined by the ADA. To date, Defendant has failed

to comply with this mandate.

      37.    Plaintiff is without adequate remedy at law and is suffering irreparable

harm and reasonably anticipates that he will continue to suffer irreparable harm

unless and until Defendant, COPPERWOOD SQUARE LLC, is required to remove

the physical barriers, dangerous conditions and ADA violations that exist at the

Subject Property, including those alleged herein. Considering the balance of

hardships between the Plaintiff and Defendant, a remedy in equity is warranted.

      38.    Plaintiff’s requested relief serves the public interest.

      39.    Plaintiff’s counsel is entitled to recover his reasonable attorneys’ fees

and costs of litigation from Defendant, COPPERWOOD SQUARE LLC, pursuant

to 42 U.S.C. §§ 12188, 12205 and 28 CFR 36.505. Plaintiff will be denied full and




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equal access to the subject premises, as provided by the ADA unless the injunctive

relief requested herein is granted.

      40.    Pursuant to 42 U.S.C. § 12188, this Court is vested with the authority

to grant Plaintiff injunctive relief; including an Order to alter the subject facilities to

make them readily accessible to, and useable by, individuals with disabilities to the

extent required by the ADA, and closing the subject facilities until the requisite

modifications are completed, and ordering Defendant to fulfill its continuing duty to

maintain the accessible features at the premises in the future as mandated by 28 CFR

36.211.

      WHEREFORE, the Plaintiff prays as follows:

      A.     That the Court find Defendant, COPPERWOOD
             SQUARE LLC, in violation of the ADA and ADAAG;

      B.     That the Court enter an Order requiring Defendant,
             COPPERWOOD SQUARE LLC, to (i) remove the
             physical barriers to access and (ii) alter the Subject
             Property to make the Subject Property readily accessible
             to and useable by individuals with disabilities to the full
             extent required by Title III of the ADA;

      C.     That the Court enter an Order directing Defendant,
             pursuant to 28 C.F.R. §36.211, to fulfill its continuing duty
             to maintain its accessible features and equipment so that
             the facility remains accessible to and useable by
             individuals with disabilities to the full extent required by
             Title III of the ADA;

      D.     That the Court enter an Order directing Defendant to
             implement and carry out effective policies, practices, and
             procedures to maintain the accessible features and
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             equipment pursuant to 28 C.F.R. §36.302 and 28 C.F.R.
             §36.211.

      E.     That the Court enter an Order directing Defendant to
             evaluate and neutralize its policies and procedures towards
             persons with disabilities for such reasonable time so as to
             allow them to undertake and complete corrective
             procedures;

      F.     An award of attorneys’ fees, costs (including expert fees),
             and litigation expenses pursuant to 42 U.S.C. § 12205 and
             an award of monitoring fees associated with insuring that
             the Defendant is in compliance with the ADA.

      G.     An award of interest upon the original sums of said award
             of attorney’s fees, costs (including expert fees), and other
             expenses of suit; and

      H.     Such other relief as the Court deems just and proper,
             and/or is allowable under Title III of the Americans with
             Disabilities Act.

Dated this the 16th day of June, 2022.


                                         Respectfully submitted,

                                         By: /s/ Davis A. Stephenson
                                         Davis A. Stephenson
                                         Counsel for Plaintiff
                                         Tennessee State Bar No.: 39015
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DEFENDANT TO BE SERVED:
COPPERWOOD SQUARE LLC
C/O PARACORP INCORPORATED
992 DAVIDSON DR.STE B.
NASHVILLE, TN 37205




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